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 Fill in this information to identify your case and this filing:
 Debtor 1            Burt                 Lee                 Burnett
                     First Name           Middle Name         Last Name

 Debtor 2
 (Spouse, if filing) First Name           Middle Name         Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number         17-42678-11                                                                                 Check if this is an
 (if known)
                                                                                                                 amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                   12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list
the asset in the category where you think it fits best. Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. If more space is needed, attach a separate
sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:        Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1.     Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
           No. Go to Part 2.
           Yes. Where is the property?

1.1.                                            What is the property?                         Do not deduct secured claims or exemptions. Put the
24 Winged Foot Circle, Abilene, TX              Check all that apply.                         amount of any secured claims on Schedule D:
79606                                               Single-family home                        Creditors Who Have Claims Secured by Property.
                                                    Duplex or multi-unit building             Current value of the       Current value of the
                                                    Condominium or cooperative                entire property?           portion you own?
Taylor
County                                              Manufactured or mobile home                         $550,000.00                $550,000.00
                                                    Land
                                                    Investment property                       Describe the nature of your ownership
                                                    Timeshare                                 interest (such as fee simple, tenancy by the
                                                    Other                                     entireties, or a life estate), if known.

                                                                                              Homestead
                                                Who has an interest in the property?
                                                Check one.
                                                    Debtor 1 only                                Check if this is community property
                                                    Debtor 2 only                                (see instructions)
                                                    Debtor 1 and Debtor 2 only
                                                    At least one of the debtors and another

                                                Other information you wish to add about this item, such as local
                                                property identification number:




Official Form 106A/B                                        Schedule A/B: Property                                                       page 1
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Debtor 1        Burt Lee Burnett                                                            Case number (if known)       17-42678-11

1.2.                                                 What is the property?                        Do not deduct secured claims or exemptions. Put the
214 CR 227, Sweetwater, TX 79556                     Check all that apply.                        amount of any secured claims on Schedule D:
2.999 acres of land which also has                      Single-family home                        Creditors Who Have Claims Secured by Property.
mobile home sitting on it. Value listed                 Duplex or multi-unit building             Current value of the        Current value of the
is for the land and the mobile home                     Condominium or cooperative                entire property?            portion you own?
                                                        Manufactured or mobile home                          $42,587.50                $42,587.50
                                                        Land
Nolan
County                                                  Investment property                       Describe the nature of your ownership
                                                        Timeshare                                 interest (such as fee simple, tenancy by the
                                                        Other                                     entireties, or a life estate), if known.

                                                     Who has an interest in the property?
                                                                                                  Real Estate
                                                     Check one.
                                                        Debtor 1 only                                Check if this is community property
                                                        Debtor 2 only                                (see instructions)
                                                        Debtor 1 and Debtor 2 only
                                                        At least one of the debtors and another

                                                     Other information you wish to add about this item, such as local
                                                     property identification number:

1.3.                                                 What is the property?                        Do not deduct secured claims or exemptions. Put the
408 W Texas Avenue,                                  Check all that apply.                        amount of any secured claims on Schedule D:
Street address, if available, or other description      Single-family home                        Creditors Who Have Claims Secured by Property.
                                                        Duplex or multi-unit building             Current value of the        Current value of the
                                                        Condominium or cooperative                entire property?            portion you own?
Sweetwater                       TX       79556         Manufactured or mobile home                          $55,000.00                $55,000.00
City                             State    ZIP Code      Land
                                                        Investment property                       Describe the nature of your ownership
                                                        Timeshare                                 interest (such as fee simple, tenancy by the
Nolan                                                                                             entireties, or a life estate), if known.
                                                        Other
County
                                                                                                  Real Estate
                                                     Who has an interest in the property?
408 W Texas Ave, Sweetwater, TX
                                                     Check one.
79556
                                                        Debtor 1 only                                Check if this is community property
                                                        Debtor 2 only                                (see instructions)
                                                        Debtor 1 and Debtor 2 only
                                                        At least one of the debtors and another

                                                     Other information you wish to add about this item, such as local
                                                     property identification number:




Official Form 106A/B                                            Schedule A/B: Property                                                        page 2
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Debtor 1    Burt Lee Burnett                                                 Case number (if known)       17-42678-11

1.4.                                  What is the property?                        Do not deduct secured claims or exemptions. Put the
342 Cedar Street, Abilene, TX 79601   Check all that apply.                        amount of any secured claims on Schedule D:
                                         Single-family home                        Creditors Who Have Claims Secured by Property.
                                         Duplex or multi-unit building             Current value of the        Current value of the
Taylor                                                                             entire property?            portion you own?
                                         Condominium or cooperative
County
                                         Manufactured or mobile home                         $625,000.00                $625,000.00
                                         Land
                                         Investment property                       Describe the nature of your ownership
                                         Timeshare                                 interest (such as fee simple, tenancy by the
                                         Other Commercial Building                 entireties, or a life estate), if known.

                                      Who has an interest in the property?
                                                                                   Real Estate
                                      Check one.
                                         Debtor 1 only                                Check if this is community property
                                         Debtor 2 only                                (see instructions)
                                         Debtor 1 and Debtor 2 only
                                         At least one of the debtors and another

                                      Other information you wish to add about this item, such as local
                                      property identification number:

1.5.                                  What is the property?                        Do not deduct secured claims or exemptions. Put the
299.642 ACRES OF LAND OUT OF THE Check all that apply.                             amount of any secured claims on Schedule D:
GEORGE W. MORGAN SURVEY NO. 295     Single-family home                             Creditors Who Have Claims Secured by Property.
AND THE THOMAS J. MORGAN SURVEY     Duplex or multi-unit building                  Current value of the        Current value of the
NO. 233, NOLAN AND FISHER           Condominium or cooperative                     entire property?            portion you own?
COUNTIES, TEXAS                     Manufactured or mobile home                              $599,284.00                $599,284.00
The value includes Debtor's mineral Land
interest.                           Investment property                            Describe the nature of your ownership
                                         Timeshare                                 interest (such as fee simple, tenancy by the
                                         Other                                     entireties, or a life estate), if known.
County                                                                             Real Estate
                                      Who has an interest in the property?
                                      Check one.
                                         Debtor 1 only                                Check if this is community property
                                         Debtor 2 only                                (see instructions)
                                         Debtor 1 and Debtor 2 only
                                         At least one of the debtors and another

                                      Other information you wish to add about this item, such as local
                                      property identification number:




Official Form 106A/B                             Schedule A/B: Property                                                        page 3
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Debtor 1    Burt Lee Burnett                                                   Case number (if known)       17-42678-11

1.6.                                    What is the property?                        Do not deduct secured claims or exemptions. Put the
326 Acres - ALL OF SERVEY NUMBER        Check all that apply.                        amount of any secured claims on Schedule D:
TWO HUNDRED THIRTY FOUR                    Single-family home                        Creditors Who Have Claims Secured by Property.
PATENTED NOVER 20, 1867 TO J W.            Duplex or multi-unit building             Current value of the        Current value of the
PARNES BY PATENT NO. 158, VOL NO.          Condominium or cooperative                entire property?            portion you own?
37, SAID SERVEY ALSO KNOWN AS              Manufactured or mobile home                         $652,000.00                $652,000.00
THE J. J. KING SERVEY, IN FISHER AND       Land
NOLAN COUNITIES, TEXAS                     Investment property                       Describe the nature of your ownership
                                           Timeshare                                 interest (such as fee simple, tenancy by the
326 ACRES                                                                            entireties, or a life estate), if known.
                                           Other
The value includes Debtor's imineral
interest.                               Who has an interest in the property?
                                                                                     Real Estate
                                        Check one.
                                           Debtor 1 only                                Check if this is community property
                                           Debtor 2 only                                (see instructions)
County
                                           Debtor 1 and Debtor 2 only
                                           At least one of the debtors and another

                                        Other information you wish to add about this item, such as local
                                        property identification number:

1.7.                                    What is the property?                        Do not deduct secured claims or exemptions. Put the
2.17 ACRES - BEING THE NORTH         Check all that apply.                           amount of any secured claims on Schedule D:
THIRTY-SIX ACRES (N/36 AC) OF THE R.    Single-family home                           Creditors Who Have Claims Secured by Property.
WHITEHEAD SERVEY NUMBER 296,            Duplex or multi-unit building                Current value of the        Current value of the
LOCATED IN NOLAN COUNTY, TEXAS          Condominium or cooperative                   entire property?            portion you own?
SAID N/36 ACRES BEING DESCRIBED         Manufactured or mobile home                              $4,340.00                  $4,340.00
AS ALL THAT PART OF THE SAID R.         Land
WHITEHEAD SERVEY NUMBER 296             Investment property                          Describe the nature of your ownership
WHICH ADJOINS AND LIES NORTH OF         Timeshare                                    interest (such as fee simple, tenancy by the
THE RIGHT OF WAY OF THE TEXAS &                                                      entireties, or a life estate), if known.
                                        Other
PACIFIC RAILWAY COMPANY.
                                                                                     Real Estate
                                        Who has an interest in the property?
                                        Check one.

County                                     Debtor 1 only                                Check if this is community property
                                           Debtor 2 only                                (see instructions)
                                           Debtor 1 and Debtor 2 only
                                           At least one of the debtors and another

                                        Other information you wish to add about this item, such as local
                                        property identification number:




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Debtor 1    Burt Lee Burnett                                                  Case number (if known)       17-42678-11

1.8.                                   What is the property?                        Do not deduct secured claims or exemptions. Put the
196.568 ACRES OF LAND OUT OF THE       Check all that apply.                        amount of any secured claims on Schedule D:
THOMAS J. MORGAN SERVEY 233 AND           Single-family home                        Creditors Who Have Claims Secured by Property.
THE GEORGE W. MORGAN SERVEY               Duplex or multi-unit building             Current value of the        Current value of the
295, LOCATED IN FISHER AND NOLAN          Condominium or cooperative                entire property?            portion you own?
COUNTIES, TEXAS                           Manufactured or mobile home                         $393,136.00                $393,136.00
The value includes Debtor's imineral      Land
interest.                                 Investment property                       Describe the nature of your ownership
                                          Timeshare                                 interest (such as fee simple, tenancy by the
                                          Other                                     entireties, or a life estate), if known.
County                                                                              Real Estate
                                       Who has an interest in the property?
                                       Check one.
                                          Debtor 1 only                                Check if this is community property
                                          Debtor 2 only                                (see instructions)
                                          Debtor 1 and Debtor 2 only
                                          At least one of the debtors and another

                                       Other information you wish to add about this item, such as local
                                       property identification number:

1.9.                                   What is the property?                        Do not deduct secured claims or exemptions. Put the
45.93 ACRES OF LAND OF THE DANIEL Check all that apply.                             amount of any secured claims on Schedule D:
MCGEE SERVEY 298, NOLAN COUNTY,      Single-family home                             Creditors Who Have Claims Secured by Property.
TEXAS with House attached            Duplex or multi-unit building                  Current value of the        Current value of the
The value includes Debtor's imineral Condominium or cooperative                     entire property?            portion you own?
interest.                            Manufactured or mobile home                               $57,412.50                 $57,412.50
                                          Land
Nolan                                     Investment property                       Describe the nature of your ownership
County                                    Timeshare                                 interest (such as fee simple, tenancy by the
                                          Other                                     entireties, or a life estate), if known.

                                                                                    Real Estate
                                       Who has an interest in the property?
                                       Check one.
                                          Debtor 1 only                                Check if this is community property
                                          Debtor 2 only                                (see instructions)
                                          Debtor 1 and Debtor 2 only
                                          At least one of the debtors and another

                                       Other information you wish to add about this item, such as local
                                       property identification number:




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Debtor 1    Burt Lee Burnett                                                      Case number (if known)       17-42678-11

1.10.                                      What is the property?                        Do not deduct secured claims or exemptions. Put the
Undivided 1/2 interest in 60 acres in      Check all that apply.                        amount of any secured claims on Schedule D:
Jones County (The value listed is             Single-family home                        Creditors Who Have Claims Secured by Property.
Debtor's half interest on the 60 acres.)      Duplex or multi-unit building             Current value of the        Current value of the
The value includes Debtor's imineral          Condominium or cooperative                entire property?            portion you own?
interest.                                     Manufactured or mobile home                         $165,000.00                $165,000.00
                                              Land
Jones                                         Investment property                       Describe the nature of your ownership
County                                        Timeshare                                 interest (such as fee simple, tenancy by the
                                              Other                                     entireties, or a life estate), if known.

                                           Who has an interest in the property?
                                                                                        Real Estate
                                           Check one.
                                              Debtor 1 only                                Check if this is community property
                                              Debtor 2 only                                (see instructions)
                                              Debtor 1 and Debtor 2 only
                                              At least one of the debtors and another

                                           Other information you wish to add about this item, such as local
                                           property identification number:

1.11.                                      What is the property?                        Do not deduct secured claims or exemptions. Put the
Undivided 1/2 interest in 100 acres in     Check all that apply.                        amount of any secured claims on Schedule D:
Fisher County Texas                           Single-family home                        Creditors Who Have Claims Secured by Property.
The value includes Debtor's imineral          Duplex or multi-unit building             Current value of the        Current value of the
interest.                                     Condominium or cooperative                entire property?            portion you own?
                                              Manufactured or mobile home                         $125,000.00                $125,000.00
                                              Land
Fisher
County                                        Investment property                       Describe the nature of your ownership
                                              Timeshare                                 interest (such as fee simple, tenancy by the
                                              Other                                     entireties, or a life estate), if known.

                                                                                        Real Estate
                                           Who has an interest in the property?
                                           Check one.
                                              Debtor 1 only                                Check if this is community property
                                              Debtor 2 only                                (see instructions)
                                              Debtor 1 and Debtor 2 only
                                              At least one of the debtors and another

                                           Other information you wish to add about this item, such as local
                                           property identification number:




Official Form 106A/B                                  Schedule A/B: Property                                                        page 6
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Debtor 1          Burt Lee Burnett                                                                      Case number (if known)         17-42678-11

1.12.                                                     What is the property?                               Do not deduct secured claims or exemptions. Put the
3.42 Acres with a house in Nolan                          Check all that apply.                               amount of any secured claims on Schedule D:
County Texas                                                   Single-family home                             Creditors Who Have Claims Secured by Property.
                                                               Duplex or multi-unit building                  Current value of the            Current value of the
                                                               Condominium or cooperative                     entire property?                portion you own?
Nolan
County                                                         Manufactured or mobile home                                $135,000.00                 $135,000.00
                                                               Land
                                                               Investment property                            Describe the nature of your ownership
                                                               Timeshare                                      interest (such as fee simple, tenancy by the
                                                               Other                                          entireties, or a life estate), if known.

                                                          Who has an interest in the property?
                                                                                                              Real Estate
                                                          Check one.
                                                               Debtor 1 only                                       Check if this is community property
                                                               Debtor 2 only                                       (see instructions)
                                                               Debtor 1 and Debtor 2 only
                                                               At least one of the debtors and another

                                                          Other information you wish to add about this item, such as local
                                                          property identification number:

2.      Add the dollar value of the portion you own for all of your entries from Part 1, including any
        entries for pages you have attached for Part 1. Write that number here.............................................................         $3,403,760.00


 Part 2:           Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


3.      Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

            No
            Yes

3.1.                                                      Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                        Dodge                        Check one.                                          amount of any secured claims on Schedule D:
                                                               Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:                       Ram 2500
                                                               Debtor 2 only                           Current value of the                   Current value of the
Year:                        2014
                                                               Debtor 1 and Debtor 2 only              entire property?                       portion you own?
Approximate mileage: 64,000                                    At least one of the debtors and another            $36,875.00                           $36,875.00
Other information:
2014 Dodge Ram 2500 (approx. 64000                             Check if this is community property
miles)                                                         (see instructions)

3.2.                                                      Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                        Dodge                        Check one.                                          amount of any secured claims on Schedule D:
                                                               Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:                       Ram Dually
                                                               Debtor 2 only                           Current value of the                   Current value of the
Year:                        2015                                                                      entire property?                       portion you own?
                                                               Debtor 1 and Debtor 2 only
Approximate mileage: 40,000                                    At least one of the debtors and another            $65,000.00                           $65,000.00
Other information:
2015 Dodge Ram Dually (approx.                                 Check if this is community property
40000 miles)                                                   (see instructions)




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Debtor 1         Burt Lee Burnett                                                                    Case number (if known)         17-42678-11

3.3.                                                   Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                     Dodge                        Check one.                                          amount of any secured claims on Schedule D:
                                                            Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:                    Ram 2500
                                                            Debtor 2 only                           Current value of the                   Current value of the
Year:                     2012
                                                            Debtor 1 and Debtor 2 only              entire property?                       portion you own?
Approximate mileage: 100,000                                At least one of the debtors and another            $25,975.00                           $25,975.00
Other information:
2012 Dodge Ram 2500 (approx.                                Check if this is community property
100000 miles)                                               (see instructions)

3.4.                                                   Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                     Cadillac                     Check one.                                          amount of any secured claims on Schedule D:
                                                            Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:                    Escalade
                                                            Debtor 2 only                           Current value of the                   Current value of the
Year:                     2016                                                                      entire property?                       portion you own?
                                                            Debtor 1 and Debtor 2 only
Approximate mileage: 45,000                                 At least one of the debtors and another            $60,375.00                           $60,375.00
Other information:
2016 Cadillac Escalade (approx.                             Check if this is community property
45000 miles)                                                (see instructions)

3.5.                                                   Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                                                  Check one.                                          amount of any secured claims on Schedule D:
                                                            Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:
                                                            Debtor 2 only                           Current value of the                   Current value of the
Year:
                                                            Debtor 1 and Debtor 2 only              entire property?                       portion you own?
Approximate mileage:                                        At least one of the debtors and another            $25,000.00                           $25,000.00
Other information:
30 foot aluminum goose neck trailer                         Check if this is community property
                                                            (see instructions)
4.   Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
     Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
           No
           Yes

5.   Add the dollar value of the portion you own for all of your entries from Part 2, including any
     entries for pages you have attached for Part 2. Write that number here.............................................................           $213,225.00


 Part 3:          Describe Your Personal and Household Items
                                                                                                                                           Current value of the
Do you own or have any legal or equitable interest in any of the following items?
                                                                                                                                           portion you own?
                                                                                                                                           Do not deduct secured
                                                                                                                                           claims or exemptions.

6.   Household goods and furnishings
     Examples: Major appliances, furniture, linens, china, kitchenware
           No
           Yes. Describe............
                               Couch, Love seat, Table w/6 chairs, Couch, Reclyner, King Bed, Dresser,                                              $12,500.00
                                Entertainment Center, Queen Bed, Dresser, Queen Bed, Dresser, Desk,
                                Queen Bed, Dresser, Desk, Washer, Dryer, Stove, Refrigerator, Microwave
7.   Electronics
     Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners;
                music collections; electronic devices including cell phones, cameras, media players, games
           No
           Yes. Describe............
                               Computer, Printer/Scanner/Fax combo, (4) Televisions (TVs are 5 years old                                              $1,300.00
                                or older)




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Debtor 1          Burt Lee Burnett                                                                                                      Case number (if known)                    17-42678-11

8.    Collectibles of value
      Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                 stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
            No
            Yes. Describe............

9.    Equipment for sports and hobbies
      Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis;
                canoes and kayaks; carpentry tools; musical instruments
            No
            Yes. Describe............
                                Golf Clubs and Golf Cart                                                                                                                                                       $1,500.00

10. Firearms
    Examples: Pistols, rifles, shotguns, ammunition, and related equipment
            No
            Yes. Describe............

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
            No
            Yes. Describe............
                                Debtor's Clothing $500.00                                                                                                                                                      $1,100.00
                                          Spouse's Clothing $300.00
                                          Dependent's Clothing $300.00
12. Jewelry
    Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
              gold, silver
            No
            Yes. Describe............
                                Wedding Rings $2500.00, (2) watches $300.00, assorted jewelry $500.00                                                                                                          $3,300.00

13. Non-farm animals
    Examples: Dogs, cats, birds, horses
            No
            Yes. Describe............
                                Family Dog - Nominal Value                                                                                                                                                             $1.00

14. Any other personal and household items you did not already list, including any health aids you
    did not list
            No
            Yes. Give specific
            information......................

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have
    attached for Part 3. Write the number here.......................................................................................................................                                        $19,701.00


  Part 4:            Describe Your Financial Assets
                                                                                                                                                                                             Current value of the
Do you own or have any legal or equitable interest in any of the following?
                                                                                                                                                                                             portion you own?
                                                                                                                                                                                             Do not deduct secured
                                                                                                                                                                                             claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your
              petition
            No
            Yes.....................................................................................................................................................................................................
                                                                                                                                                     Cash: ...........................................




Official Form 106A/B                                                                         Schedule A/B: Property                                                                                                    page 9
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Debtor 1         Burt Lee Burnett                                                                     Case number (if known)   17-42678-11

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions,
              brokerage houses, and other similar institutions. If you have multiple accounts with the same
              institution, list each.

           No
           Yes..............................             Institution name:

            17.1.       Checking account:                Checking account with Citizens Bank                                                     $28.68
            17.2.       Checking account:                Checking account with Coleman County State Bank                                        $125.12
            17.3.       Other financial account: Edward Jones Money Market Account                                                              $120.62
            17.4.       Other financial account: LIRP Account with Hartford Leaders Legacy VUL - permanent
                                                         life - value listed is cash value                                                     $1,010.95
            17.5.       Other financial account: Two 529 accounts with Edward Jones $2,208.70                                                  $4,417.40
            17.6.       Other financial account: eTrade account                                                                                    $0.04
18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
           No
           Yes.............................. Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including
    an interest in an LLC, partnership, and joint venture
           No
           Yes. Give specific
           information about
           them...............................................
                                              Name of entity:                                                     % of ownership:

                                               Lucrative Living Legacy, LLC - dormant - no
                                               operations and no assets                                                                            $0.00
                                               Corporate Pay Solutions, LLC - dormant - no
                                               operations and no assets                                                                            $0.00
                                               Team Burnett Cattle Company, LLC - the assets of this
                                               business consisit of 40 limousine registered cattle
                                               $140,000.00, 30 show steer cows $75,000.00, 2 silver
                                               charolais cows $60,000.00, 2012 John Deere 6115D
                                               Tractor $40,000.00, checking account at Coleman
                                               County State Bank and First Bank Texas and checking
                                               account at BBVA, miscellaneous equipment $7,500.00                      100%                  $322,500.00
                                               The Burnett Law Firm, PLLC- Assets of the business
                                               consist of office furniture and equipment, Coleman
                                               County State Bank operating account and IOLTA
                                               account, First Bank Texas operating account and
                                               IOLTA account, BBVA Compass Bank operating
                                               account and IOLTA account and possible legal fees
                                               and expenses.                                                                                   Unknown
                                               Aerial Vision Technology Inc.                                                                   Unknown
                                               School Kids Nutrition Consultants Inc.                                                          Unknown
20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
           No
           Yes. Give specific
           information about
           them...............................................
                                              Issuer name:



Official Form 106A/B                                                         Schedule A/B: Property                                               page 10
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Debtor 1         Burt Lee Burnett                                                                     Case number (if known)    17-42678-11

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or
              profit-sharing plans
           No
           Yes. List each
           account separately.             Type of account:            Institution name:
22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others

           No
           Yes..............................                        Institution name or individual:
23. Annuities (A contract for a specific periodic payment of money to you, either for life or for a number of years)
       No
       Yes.............................. Issuer name and description:
                                               Allstate Intl. Assignments Ltd. - structured settlement payment of
                                               $10,563.35/month for 30 years                                                                       $10,563.35
24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
           No
           Yes.............................. Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c)
25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or
    powers exercisable for your benefit
           No
           Yes. Give specific
           information about them

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property;
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
           No
           Yes. Give specific
           information about them

27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
           No
           Yes. Give specific
           information about them

Money or property owed to you?                                                                                                            Current value of the
                                                                                                                                          portion you own?
                                                                                                                                          Do not deduct secured
                                                                                                                                          claims or exemptions.

28. Tax refunds owed to you

           No
           Yes. Give specific information                                                                                      Federal:
           about them, including whether
           you already filed the returns                                                                                       State:
           and the tax years.....................................
                                                                                                                               Local:




Official Form 106A/B                                                         Schedule A/B: Property                                                      page 11
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Debtor 1         Burt Lee Burnett                                                                                    Case number (if known)             17-42678-11

29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
            No
            Yes. Give specific information                                                                                            Alimony:

                                                                                                                                      Maintenance:

                                                                                                                                      Support:

                                                                                                                                      Divorce settlement:

                                                                                                                                      Property settlement:

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers'
              compensation, Social Security benefits; unpaid loans you made to someone else
            No
            Yes. Give specific information

31. Interests in insurance policies
    Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
            No
            Yes. Name the insurance
            company of each policy
            and list its value................    Company name:                                                 Beneficiary:                                Surrender or refund value:

                                                  Hartford Life and Annuity Insurance
                                                  Company - Variable Life Insurance $                           Estate of Burt Burnett                                         $0.00
32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently
    entitled to receive property because someone has died
            No
            Yes. Give specific information

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
            No
            Yes. Describe each claim..............
                                              See continuation page(s).                                                                                                        $0.00

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and
    rights to set off claims
            No
            Yes. Describe each claim..............

35. Any financial assets you did not already list

            No
            Yes. Give specific information

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have
    attached for Part 4. Write that number here.......................................................................................................................   $338,766.16


  Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

            No. Go to Part 6.
            Yes. Go to line 38.




Official Form 106A/B                                                            Schedule A/B: Property                                                                         page 12
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Debtor 1          Burt Lee Burnett                                                                                   Case number (if known)             17-42678-11

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
38. Accounts receivable or commissions you already earned

            No
            Yes. Describe................

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones,
               desks, chairs, electronic devices
            No
            Yes. Describe................

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

            No
            Yes. Describe................

41. Inventory

            No
            Yes. Describe................

42. Interests in partnerships or joint ventures

            No
            Yes. Describe................
                                Name of entity:                                                                                       % of ownership:

43. Customer lists, mailing lists, or other compilations

            No
            Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                    No
                    Yes. Describe..............

44. Any business-related property you did not already list

            No
            Yes. Give specific information.

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have
    attached for Part 5. Write that number here.......................................................................................................................          $0.00


  Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

            No. Go to Part 7.
            Yes. Go to line 47.

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
47. Farm animals
    Examples: Livestock, poultry, farm-raised fish
            No
            Yes............................




Official Form 106A/B                                                            Schedule A/B: Property                                                                          page 13
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Debtor 1           Burt Lee Burnett                                                                                           Case number (if known)                17-42678-11

48. Crops--either growing or harvested

             No
             Yes. Give specific
             information..........................

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

             No
             Yes..............................

50. Farm and fishing supplies, chemicals, and feed

             No
             Yes..............................

51. Any farm- and commercial fishing-related property you did not already list

             No
             Yes. Give specific
             information..........................

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have
    attached for Part 6. Write that number here.......................................................................................................................                       $0.00


  Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

             No
             Yes. Give specific information.
              Season ticket holder and option holder - 2017/2018 season tickets have not been purchased                                                                                  Unknown


54. Add the dollar value of all of your entries from Part 7. Write that number here.................................................                                                         $0.00


  Part 8: List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2..............................................................................................................................................   $3,403,760.00

56. Part 2: Total vehicles, line 5                                                                                $213,225.00

57. Part 3: Total personal and household items, line 15                                                             $19,701.00

58. Part 4: Total financial assets, line 36                                                                       $338,766.16

59. Part 5: Total business-related property, line 45                                                                         $0.00

60. Part 6: Total farm- and fishing-related property, line 52                                                                $0.00

61. Part 7: Total other property not listed, line 54                                               +                         $0.00

                                                                                                                                            Copy personal
62. Total personal property.                     Add lines 56 through 61.................................         $571,692.16               property total                 +           $571,692.16


63. Total of all property on Schedule A/B.                                                                                                                                              $3,975,452.16
                                                                    Add line 55 + line 62.......................................................................................................




Official Form 106A/B                                                                  Schedule A/B: Property                                                                                 page 14
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Debtor 1    Burt Lee Burnett                                                Case number (if known)   17-42678-11


33. Claims against third parties (details):

    Pending Causes of Action:                                                                                      Unknown

    Burt L. Burnett vs. Mandola Bros, III, LLC dba Ragin Cajun Restaurants and Robert V. Hyatt, IV -
    claim for violation of federal and state collection practices, fraud, etc.

    Burt Burnett v. Mike Barker, et al. - claim pending in the First County Court at Law, Nolan County
    Texas - claim for breach of contract, fraud and conversion
    Possible Causes of Action:                                                                                     Unknown

    Claim against Majd Ghanayem for Breach of fiduciary duty, conversion and fraud - Mr. Ghanayem
    was an employ at Debtor's law firm and was stealing clients and money.

    Claim against Greg Allen - Ketterman Rowland & Westlund and State Bar. Mr. Allen was on the
    panel that supended the Debtor from practicing law. However, Mr. Allen failed to disclose that he
    was working for a direct competitor of Debtor's law firm.




Official Form 106A/B                               Schedule A/B: Property                                             page 15
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 Fill in this information to identify your case:
 Debtor 1            Burt                 Lee                    Burnett
                     First Name           Middle Name            Last Name
 Debtor 2
 (Spouse, if filing) First Name           Middle Name            Last Name

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS
                                                                                                                     Check if this is an
 Case number         17-42678-11                                                                                     amended filing
 (if known)

Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                04/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages,
write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so
is to state a specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being
exempted up to the amount of any applicable statutory limit. Some exemptions--such as those for health aids, rights to
receive certain benefits, and tax-exempt retirement funds--may be unlimited in dollar amount. However, if you claim an
exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the
property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1:        Identify the Property You Claim as Exempt

1.   Which set of exemptions are you claiming?             Check one only, even if your spouse is filing with you.
          You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
          You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on           Current value of     Amount of the                Specific laws that allow exemption
Schedule A/B that lists this property                   the portion you      exemption you claim
                                                        own
                                                        Copy the value from Check only one box for
                                                        Schedule A/B        each exemption


Brief description:                                        $550,000.00                 $236,115.87         Const. art. 16 §§ 50, 51, Texas
24 Winged Foot Circle, Abilene, TX 79606                                          100% of fair market     Prop. Code §§ 41.001-.002
                                                                                  value, up to any
Line from Schedule A/B:      1.1
                                                                                  applicable statutory
                                                                                  limit

Brief description:                                         $36,875.00                 $36,875.00          Tex. Prop. Code §§ 42.001(a),
2014 Dodge Ram 2500 (approx. 64000                                                100% of fair market     42.002(a)(9)
miles)                                                                            value, up to any
Line from Schedule A/B: 3.1                                                       applicable statutory
                                                                                  limit




3.   Are you claiming a homestead exemption of more than $160,375?
     (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

          No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
              No
              Yes

Official Form 106C                               Schedule C: The Property You Claim as Exempt                                               page 1
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Debtor 1      Burt Lee Burnett                                                       Case number (if known)   17-42678-11

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                     $65,000.00               $44,153.07          Tex. Prop. Code §§ 42.001(a),
2015 Dodge Ram Dually (approx. 40000                                         100% of fair market    42.002(a)(9)
miles)                                                                       value, up to any
Line from Schedule A/B: 3.2                                                  applicable statutory
                                                                             limit

Brief description:                                     $12,500.00               $12,500.00          Tex. Prop. Code §§ 42.001(a),
Couch, Love seat, Table w/6 chairs, Couch,                                   100% of fair market    42.002(a)(1)
Reclyner, King Bed, Dresser,                                                 value, up to any
Entertainment Center, Queen Bed,                                             applicable statutory
Dresser, Queen Bed, Dresser, Desk,                                           limit
Queen Bed, Dresser, Desk, Washer, Dryer,
Stove, Refrigerator, Microwave
Line from Schedule A/B:  6

Brief description:                                      $1,300.00                $1,300.00          Tex. Prop. Code §§ 42.001(a),
Computer, Printer/Scanner/Fax combo, (4)                                     100% of fair market    42.002(a)(1)
Televisions (TVs are 5 years old or older)                                   value, up to any
Line from Schedule A/B:  7                                                   applicable statutory
                                                                             limit

Brief description:                                      $1,500.00                $1,500.00          Tex. Prop. Code §§ 42.001(a),
Golf Clubs and Golf Cart                                                     100% of fair market    42.002(a)(8)
                                                                             value, up to any
Line from Schedule A/B:     9
                                                                             applicable statutory
                                                                             limit

Brief description:                                      $1,100.00                $1,100.00          Tex. Prop. Code §§ 42.001(a),
Debtor's Clothing $500.00                                                    100% of fair market    42.002(a)(5)
Spouse's Clothing $300.00                                                    value, up to any
Dependent's Clothing $300.00                                                 applicable statutory
Line from Schedule A/B: 11                                                   limit

Brief description:                                      $3,300.00                $2,571.93          Tex. Prop. Code §§ 42.001(a),
Wedding Rings $2500.00, (2) watches                                          100% of fair market    42.002(a)(6)
$300.00, assorted jewelry $500.00                                            value, up to any
Line from Schedule A/B: 12                                                   applicable statutory
                                                                             limit

Brief description:                                        $1.00                     $0.00           Tex. Prop. Code §§ 42.001(a),
Family Dog - Nominal Value                                                   100% of fair market    42.002(a)(11)
                                                                             value, up to any
Line from Schedule A/B:    13
                                                                             applicable statutory
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 2
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  Fill in this information to identify your case:
  Debtor 1             Burt                  Lee                    Burnett
                       First Name            Middle Name            Last Name

  Debtor 2
  (Spouse, if filing) First Name             Middle Name            Last Name


  United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

  Case number          17-42678-11                                                                                     Check if this is an
  (if known)
                                                                                                                       amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                      12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form.
On the top of any additional pages, write your name and case number (if known).


1.      Do any creditors have claims secured by your property?
             No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
             Yes. Fill in all of the information below.


  Part 1:         List All Secured Claims

2.      List all secured claims. If a creditor has more than one secured
        claim, list the creditor separately for each claim. If more than one             Column A               Column B               Column C
        creditor has a particular claim, list the other creditors in Part 2. As          Amount of claim        Value of collateral    Unsecured
        much as possible, list the claims in alphabetical order according to the         Do not deduct the      that supports this     portion
        creditor's name.                                                                 value of collateral    claim                  If any

  2.1                                            Describe the property that
                                                 secures the claim:                               Unknown                     $0.00          Unknown
Dallas Cowboys Stadium
Creditor's name
                                                 Dallas Cowboy season seat
One AT&T Way                                     holder
Number       Street


                                                 As of the date you file, the claim is: Check all that apply.
                                                     Contingent
Arlington                TX      76011               Unliquidated
City                     State   ZIP Code
                                                     Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Purchase Money
   to a community debt
Date debt was incurred           2008            Last 4 digits of account number        9     2    7    9




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                                      $0.00

Official Form 106D                          Schedule D: Creditors Who Have Claims Secured by Property                                          page 1
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Debtor 1      Burt Lee Burnett                                                            Case number (if known)      17-42678-11

                  Additional Page                                                     Column A               Column B              Column C
  Part 1:                                                                             Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                      Do not deduct the      that supports this    portion
                  sequentially from the previous page.
                                                                                      value of collateral    claim                 If any

  2.2                                         Describe the property that
                                              secures the claim:                           $313,884.13             $550,000.00
Ditech Customer Service                       24 Winged Foot Circle,
Creditor's name
PO Box 6172                                   Abilene, TX 79606
Number     Street


                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
Rapid City              SD      57709-6172        Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Purchase Money
   to a community debt
Date debt was incurred                        Last 4 digits of account number        5     8    8    0

  2.3                                         Describe the property that
                                              secures the claim:                            $81,221.93             $125,375.00
First Bank Texas
Creditor's name
                                              2016 Cadillac Escalade
4201 Buffalo Gap Road
Number     Street


                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
Abilene                 TX      79604             Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Purchase Money
   to a community debt
Date debt was incurred                        Last 4 digits of account number        4     1    5    0




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                          $395,106.06

Official Form 106D                Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 2
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Debtor 1      Burt Lee Burnett                                                            Case number (if known)      17-42678-11

                  Additional Page                                                     Column A               Column B              Column C
  Part 1:                                                                             Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                      Do not deduct the      that supports this    portion
                  sequentially from the previous page.
                                                                                      value of collateral    claim                 If any

  2.4                                         Describe the property that
                                              secures the claim:                           $108,751.11           $2,134,110.00
First Bank Texas                              Deed of Trust/Commercial
Creditor's name
4201 Buffalo Gap Road                         Security Agreement
Number     Street


                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
Abilene                 TX      79604             Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Purchase Money
   to a community debt
Date debt was incurred                        Last 4 digits of account number        3     5    8    3

  2.5                                         Describe the property that
                                              secures the claim:                           $531,085.74           $2,134,110.00
First Bank Texas
Creditor's name
                                              Deed of Trust and Live Stock
4201 Buffalo Gap Road
Number     Street


                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
Abilene                 TX      79604             Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Purchase Money
   to a community debt
Date debt was incurred                        Last 4 digits of account number        3     2    8    1




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                          $639,836.85

Official Form 106D                Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 3
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Debtor 1      Burt Lee Burnett                                                            Case number (if known)      17-42678-11

                  Additional Page                                                     Column A               Column B              Column C
  Part 1:                                                                             Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                      Do not deduct the      that supports this    portion
                  sequentially from the previous page.
                                                                                      value of collateral    claim                 If any

  2.6                                         Describe the property that
                                              secures the claim:                            $28,597.87             $322,500.00
First Bank Texas                              2 Charolais Cross Heifer
Creditor's name
4201 Buffalo Gap Road
Number     Street


                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
Abilene                 TX      79604             Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Purchase Money
   to a community debt
Date debt was incurred                        Last 4 digits of account number        3     5    6    3

  2.7                                         Describe the property that
                                              secures the claim:                           $271,703.93             $625,000.00
First Bank Texas
Creditor's name
                                              2 Deeds of Trust, 2014 Ram,
4201 Buffalo Gap Road                         2012 Dodge Truck, 2012
Number     Street


                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
Abilene                 TX      79604             Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Purchase Money
   to a community debt
Date debt was incurred                        Last 4 digits of account number        3     2    8    0




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                          $300,301.80

Official Form 106D                Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 4
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Debtor 1      Burt Lee Burnett                                                            Case number (if known)      17-42678-11

                  Additional Page                                                     Column A               Column B              Column C
  Part 1:                                                                             Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                      Do not deduct the      that supports this    portion
                  sequentially from the previous page.
                                                                                      value of collateral    claim                 If any

  2.8                                         Describe the property that
                                              secures the claim:                               $6,080.71                  $0.00        $6,080.71
First Bank Texas                              Overdraft Account
Creditor's name
4201 Buffalo Gap Road
Number     Street


                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
Abilene                 TX      79604             Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Overdraft
   to a community debt
Date debt was incurred                        Last 4 digits of account number        3     0    9    7

  2.9                                         Describe the property that
                                              secures the claim:                           $149,834.59           $2,065,547.50
First Bank Texas
Creditor's name
                                              Deed of Trust, 2014 Ram,
4201 Buffalo Gap Road                         2012 Dodge Truck, 2012
Number     Street


                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
Abilene                 TX      79604             Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Purchase Money
   to a community debt
Date debt was incurred                        Last 4 digits of account number        4     2    3    7




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                          $155,915.30

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Debtor 1      Burt Lee Burnett                                                            Case number (if known)      17-42678-11

                  Additional Page                                                     Column A               Column B              Column C
  Part 1:                                                                             Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                      Do not deduct the      that supports this    portion
                  sequentially from the previous page.
                                                                                      value of collateral    claim                 If any

 2.10                                         Describe the property that
                                              secures the claim:                           $270,615.74                    $0.00      $270,615.74
First Bank Texas                              Promissory Note
Creditor's name
4201 Buffalo Gap Road
Number     Street


                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
Abilene                 TX      79604             Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Purchase Money
   to a community debt
Date debt was incurred                        Last 4 digits of account number        1     4    0    0

 2.11                                         Describe the property that
                                              secures the claim:                            $37,714.50                    $0.00       $37,714.50
First Bank Texas
Creditor's name
                                              Promissory Note
4201 Buffalo Gap Road
Number     Street


                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
Abilene                 TX      79604             Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Purchase Money
   to a community debt
Date debt was incurred                        Last 4 digits of account number        3     2    8    8




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                          $308,330.24

Official Form 106D                Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 6
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Debtor 1      Burt Lee Burnett                                                            Case number (if known)      17-42678-11

                  Additional Page                                                     Column A               Column B              Column C
  Part 1:                                                                             Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                      Do not deduct the      that supports this    portion
                  sequentially from the previous page.
                                                                                      value of collateral    claim                 If any

 2.12                                         Describe the property that
                                              secures the claim:                                $935.17                   $0.00          $935.17
Fisher CAD                                    Real Property
Creditor's name
P.O.Box 516
Number     Street


                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
Roby                    TX      79543             Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Property Taxes
   to a community debt
Date debt was incurred                        Last 4 digits of account number
FISHER COUNTY CAD

Parcel ID 1985/1
SEC 234 J J KING 226 AC
$126.99

SOUTHEAST

Parcel ID 2071/1
TR233 THOMAS MORGAN 196 568 AC


TR 295 G W MORGAN
GRAIN BIN

SOUTHEAST
$397.24

Parcel ID 2073/1
PRE G W MORGAN. 62.526 AC
TR 295

SOUTHEAST
$36.55

Parcel ID 3603/2
SEC 2     102.50 AC
S/3 OF E/2 21 T&P & BARN
$124.67

Parcel ID 21472/1
PRE THOMAS MORGAN 190 AC

SOUTHEAST
$127.73
Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                               $935.17
Owner Total Taxes BREAKOUT
Official Form 106D                Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 7
FISHER CO
HOSP DIST
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Debtor 1      Burt Lee Burnett                                                          Case number (if known)      17-42678-11

                Additional Page                                                     Column A               Column B              Column C
  Part 1:                                                                           Amount of claim        Value of collateral   Unsecured
                After listing any entries on this page, number them
                                                                                    Do not deduct the      that supports this    portion
                sequentially from the previous page.
                                                                                    value of collateral    claim                 If any

 2.13                                       Describe the property that
                                            secures the claim:                                 $17.93                   $0.00           $17.93
Maverick Co. Tax Assessor Collector Property Tax
Creditor's name
Maverick County Appraisal District
Number     Street
2243 N. Veterans Dr.
                                            As of the date you file, the claim is: Check all that apply.
                                                Contingent
Eagle Pass            TX      78852             Unliquidated
City                  State   ZIP Code
                                                Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Property Tax
   to a community debt
Date debt was incurred                      Last 4 digits of account number        0     5    2    8




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                              $17.93

Official Form 106D              Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 8
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Debtor 1      Burt Lee Burnett                                                            Case number (if known)      17-42678-11

                  Additional Page                                                     Column A               Column B              Column C
  Part 1:                                                                             Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                      Do not deduct the      that supports this    portion
                  sequentially from the previous page.
                                                                                      value of collateral    claim                 If any

 2.14                                         Describe the property that
                                              secures the claim:                              $8,983.31                   $0.00        $8,983.31
Nolan CAD                                     Real Property
Creditor's name
P.O. Box 1256
Number     Street
208 Elm Street
                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
Sweetwater              TX      79556             Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Property Taxes
   to a community debt
Date debt was incurred                        Last 4 digits of account number
Nolan CAD

Parcel ID 19068
MORGAN GEORGE W BLK 0 SEC 295 ABST 0528
$45.08

Parcel ID 20036
KING JOHN J BLK 0 SEC 234 ABST 1094
$43.12

Parcel ID 20037
KING JOHN BLK 0 SEC 234 ABST 1094
$30.31

Parcel ID 21288
MCGEE DANIEL M BLK 0 SEC 298
ABST 1678
$1.49

Parcel ID 21293
MCGHEE DANIEL M BLK 0 SEC 298 ABST 1678
$33.51

Parcel ID 21294
MCGHEE DANIEL M BLK 0 SEC 298 ABST 1678
$30.83

Parcel ID 21318
WHITEHEAD RICHARD BLK 0 SEC 2 ABST 1688
$18.98

Parcel ID 21326
WHITEHEAD RICHARD BLK 0 SEC 2 ABST 1689
$4,541.10
Add the dollar value of your entries in Column A on this page. Write
Parcel ID 27010
that number  here:                                                           $8,983.31
HIGHLAND BLK 24 LOT 7 & W/2 OF 8
$1, 913.95
Official Form 106D    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 9

Parcel ID 43674
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Debtor 1      Burt Lee Burnett                                                            Case number (if known)      17-42678-11

                  Additional Page                                                     Column A               Column B              Column C
  Part 1:                                                                             Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                      Do not deduct the      that supports this    portion
                  sequentially from the previous page.
                                                                                      value of collateral    claim                 If any

 2.15                                         Describe the property that
                                              secures the claim:                              $2,290.88            $528,136.00
Perdue, Brandon, Fielder, Collins             Real Property
Creditor's name
& Mott, L.L.P.
Number     Street
PO Box 817
                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
Lubbock                 TX      79408             Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Property Tax Lien
   to a community debt
Date debt was incurred                        Last 4 digits of account number

 2.16                                         Describe the property that
                                              secures the claim:                              $2,628.86            $528,136.00
Perdue, Brandon, Fielder, Collins
Creditor's name
                                              Real Property
& Mott, L.L.P.
Number     Street
PO Box 817
                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
Lubbock                 TX      79408             Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Property Tax Lien
   to a community debt
Date debt was incurred                        Last 4 digits of account number




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                             $4,919.74

If this is the last page of your form, add the dollar value totals from
all pages. Write that number here:                                                      $1,814,346.40

Official Form 106D                Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                           page 10
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Debtor 1       Burt Lee Burnett                                                        Case number (if known)    17-42678-11

 Part 2:        List Others to Be Notified for a Debt That You Already Listed
Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For
example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and
then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Part 1,
list the additional creditors here. If you do not have additional persons to be notified for any debts in Part 1, do not fill out or
submit this page.


  1
        Stacy B. Loftin                                                        On which line in Part 1 did you enter the creditor?       2.9
        Name
        Adams, Lynch & Loftin, P.C.                                            Last 4 digits of account number
        Number       Street
        3950 Highway 360


        Grapevine                                TX      76051-6741
        City                                     State   ZIP Code

  2
        Stacy B. Loftin                                                        On which line in Part 1 did you enter the creditor?       2.8
        Name
        Adams, Lynch & Loftin, P.C.                                            Last 4 digits of account number
        Number       Street
        3950 Highway 360


        Grapevine                                TX      76051-6741
        City                                     State   ZIP Code

  3
        Stacy B. Loftin                                                        On which line in Part 1 did you enter the creditor?       2.7
        Name
        Adams, Lynch & Loftin, P.C.                                            Last 4 digits of account number
        Number       Street
        3950 Highway 360



        Grapevine                                TX      76051-6741
        City                                     State   ZIP Code

  4
        Stacy B. Loftin                                                        On which line in Part 1 did you enter the creditor?       2.6
        Name
        Adams, Lynch & Loftin, P.C.                                            Last 4 digits of account number
        Number       Street
        3950 Highway 360



        Grapevine                                TX      76051-6741
        City                                     State   ZIP Code

  5
        Stacy B. Loftin                                                        On which line in Part 1 did you enter the creditor?       2.5
        Name
        Adams, Lynch & Loftin, P.C.                                            Last 4 digits of account number
        Number       Street
        3950 Highway 360



        Grapevine                                TX      76051-6741
        City                                     State   ZIP Code




Official Form 106D                 Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                 page 11
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Debtor 1       Burt Lee Burnett                                                  Case number (if known)    17-42678-11

 Part 2:        List Others to Be Notified for a Debt That You Already Listed -- Continuation Page

  6
        Stacy B. Loftin                                                  On which line in Part 1 did you enter the creditor?     2.4
        Name
        Adams, Lynch & Loftin, P.C.                                      Last 4 digits of account number
        Number       Street
        3950 Highway 360



        Grapevine                             TX      76051-6741
        City                                  State   ZIP Code

  7
        Stacy B. Loftin                                                  On which line in Part 1 did you enter the creditor?     2.3
        Name
        Adams, Lynch & Loftin, P.C.                                      Last 4 digits of account number
        Number       Street
        3950 Highway 360



        Grapevine                             TX      76051-6741
        City                                  State   ZIP Code




Official Form 106D                Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                          page 12
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  Fill in this information to identify your case:
  Debtor 1             Burt                  Lee                    Burnett
                       First Name            Middle Name            Last Name

  Debtor 2
  (Spouse, if filing) First Name             Middle Name            Last Name


  United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

  Case number          17-42678-11                                                                                      Check if this is an
  (if known)
                                                                                                                        amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                   12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
on Schedule A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G).
Do not include any creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property.
If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page
to this page. On the top of any additional pages, write your name and case number (if known).


  Part 1:        List All of Your PRIORITY Unsecured Claims
1.     Do any creditors have priority unsecured claims against you?
            No. Go to Part 2.
            Yes.

2.     List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each
       claim. For each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and
       show both priority and nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If
       more space is needed for priority unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular
       claim, list the other creditors in Part 3.

       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.
                                                                                                      Total claim       Priority              Nonpriority
                                                                                                                        amount                amount

     2.1                                                                                               $57,628.46         $57,628.46                 $0.00
Internal Revenue Service
Priority Creditor's Name                                   Last 4 digits of account number
Centralized Insolvency Operations                          When was the debt incurred?
Number       Street
PO Box 7346                                                As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
Philadelphia                    PA      19114-7346             Disputed
City                            State   ZIP Code
Who incurred the debt? Check one.                          Type of PRIORITY unsecured claim:
     Debtor 1 only                                            Domestic support obligations
     Debtor 2 only                                            Taxes and certain other debts you owe the government
     Debtor 1 and Debtor 2 only                               Claims for death or personal injury while you were
     At least one of the debtors and another                  intoxicated
     Check if this claim is for a community debt              Other. Specify
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                 page 1
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Debtor 1       Burt Lee Burnett                                                                 Case number (if known)      17-42678-11

  Part 2:        List All of Your NONPRIORITY Unsecured Claims

3.     Do any creditors have nonpriority unsecured claims against you?
            No. You have nothing to report in this part. Submit this form to the court with your other schedules.
            Yes

4.     List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim.
       If a creditor has more than one nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what
       type of claim it is. Do not list claims already included in Part 1. If more than one creditor holds a particular claim, list the other creditors in
       Part 3. If more space is needed for nonpriority unsecured claims, fill out the Continuation Page of Part 2.

                                                                                                                                              Total claim

     4.1                                                                                                                                          Unknown
1420 Med, LLC                                               Last 4 digits of account number
Nonpriority Creditor's Name
                                                            When was the debt incurred?
c/o John P. Henry
Number        Street                                        As of the date you file, the claim is: Check all that apply.
The Law Office of John Henry, P.C.                              Contingent
407 West Liberty Street                                         Unliquidated
                                                                Disputed
Round Rock                      TX      78664
City                            State   ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Non-Purchase Money
Is the claim subject to offset?
     No
     Yes

     4.2                                                                                                                                            $914.84
Abilene Regional Medical Center                             Last 4 digits of account number
Nonpriority Creditor's Name
                                                            When was the debt incurred?
6250 Hwy 83/84
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Abilene                         TX      79606
City                            State   ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Non-Purchase Money
Is the claim subject to offset?
     No
     Yes
Arroyo Settlement




Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 2
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Debtor 1       Burt Lee Burnett                                                            Case number (if known)       17-42678-11

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                      Total claim
previous page.

   4.3                                                                                                                                   $1,326.48
Agapito Castaneda                                        Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
332 West 6th Street
Number        Street                                     As of the date you file, the claim is: Check all that apply.
Aspermont, TX79502                                           Contingent
                                                             Unliquidated
                                                             Disputed

City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Non-Purchase Money
Is the claim subject to offset?
     No
     Yes

   4.4                                                                                                                                   $1,788.52
Ambit Energy                                             Last 4 digits of account number       0    0    4    9
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 660462
Number        Street                                     As of the date you file, the claim is: Check all that apply.
Dallas, TX 660462                                            Contingent
                                                             Unliquidated
                                                             Disputed

City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Non-Purchase Money
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                           page 3
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Debtor 1       Burt Lee Burnett                                                            Case number (if known)       17-42678-11

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                      Total claim
previous page.

   4.5                                                                                                                                   $1,475.00
American Medical Response                                Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
50 S. Main Street, Suite 401
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Akron                         OH      44308
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Non-Purchase Money
Is the claim subject to offset?
     No
     Yes
Arterberry Settlement

   4.6                                                                                                                                   $4,650.82
Ashley Alexander                                         Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
8629 CR 362
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Desdemona                     TX      76445
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Non-Purchase Money
Is the claim subject to offset?
     No
     Yes




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Debtor 1       Burt Lee Burnett                                                            Case number (if known)       17-42678-11

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                      Total claim
previous page.

   4.7                                                                                                                                      $26.69
AT&T                                                     Last 4 digits of account number       1    5    7    4
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 5017
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Carol Stream                  IL      60197-5017
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Non-Purchase Money
Is the claim subject to offset?
     No
     Yes

   4.8                                                                                                                                   Unknown
Aylois Cook                                              Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
406 Hobart Street
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Stamford                      TX      79553
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Non-Purchase Money
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                           page 5
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Debtor 1       Burt Lee Burnett                                                            Case number (if known)       17-42678-11

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                      Total claim
previous page.

   4.9                                                                                                                                   $3,438.22
Baylor University Medical Center                         Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
2001 Bryant Street, Suite 2600
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Dallas                        TX      75201
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Non-Purchase Money
Is the claim subject to offset?
     No
     Yes
Apoliner Settlement

  4.10                                                                                                                                 $62,000.00
BBVA Compass                                             Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?        April 2016
PO Box 10566
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Birmingham                    AL      35296
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Non-Purchase Money
Is the claim subject to offset?
     No
     Yes




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Debtor 1       Burt Lee Burnett                                                            Case number (if known)       17-42678-11

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                      Total claim
previous page.

  4.11                                                                                                                                 $10,000.00
Blue Cross Blue Shield                                   Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
3200 Robbins Road
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Springfield                   IL      62704
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Non-Purchase Money
Is the claim subject to offset?
     No
     Yes
Barton Settlement

  4.12                                                                                                                                   $7,667.00
Britt Holdings, LLC dba                                  Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Brewer Chiropractic Clinic
Number        Street                                     As of the date you file, the claim is: Check all that apply.
c/o Lancaster Smith, Jr.                                     Contingent
PO Box 795007                                                Unliquidated
                                                             Disputed
Dallas                        TX      75379-5007
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Non-Purchase Money
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                           page 7
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Debtor 1       Burt Lee Burnett                                                            Case number (if known)       17-42678-11

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                      Total claim
previous page.

  4.13                                                                                                                                   $4,000.00
Capital One Card Services                                Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 60507
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
City of Industry              CA      91716
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Non-Purchase Money
Is the claim subject to offset?
     No
     Yes

  4.14                                                                                                                                   $1,580.00
Chalmer's Wellness                                       Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
6988 Lebanon #3101
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Frisco                        TX      75034
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Non-Purchase Money
Is the claim subject to offset?
     No
     Yes
Sveda Settlement




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Debtor 1       Burt Lee Burnett                                                            Case number (if known)       17-42678-11

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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                                                                                                                                      Total claim
previous page.

  4.15                                                                                                                                 $23,000.00
Chase Cardmember Service                                 Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 15548
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Wilmington                    DE      19886-5548
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Non-Purchase Money
Is the claim subject to offset?
     No
     Yes

  4.16                                                                                                                                   $3,396.88
Cirro Energy                                             Last 4 digits of account number       3    2    9    9
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 2229
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Houston                       TX      77252
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Utility
Is the claim subject to offset?
     No
     Yes

  4.17                                                                                                                                     $993.02
Cisco, Inc,                                              Last 4 digits of account number       0    0    6    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?
AT&T
Number        Street                                     As of the date you file, the claim is: Check all that apply.
1702 Townhurst                                               Contingent
                                                             Unliquidated
                                                             Disputed
Houston                       TX      77043
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Utility
Is the claim subject to offset?
     No
     Yes


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Debtor 1       Burt Lee Burnett                                                            Case number (if known)       17-42678-11

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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                                                                                                                                      Total claim
previous page.

  4.18                                                                                                                                 $53,000.00
Citibusiness Card                                        Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 78045
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Phoenix                       AZ      85062-8045
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Non-Purchase Money
Is the claim subject to offset?
     No
     Yes

  4.19                                                                                                                                   $3,050.00
Comprehensive Spine                                      Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Dr. Scott Farley
Number        Street                                     As of the date you file, the claim is: Check all that apply.
18601 LBJ Freeway, Ste. 310                                  Contingent
                                                             Unliquidated
                                                             Disputed
Mesquite                      TX      75150
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Non-Purchase Money
Is the claim subject to offset?
     No
     Yes
Bailey Settlement




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  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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                                                                                                                                      Total claim
previous page.

  4.20                                                                                                                                   $1,000.00
Dallas Radiology                                         Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
aka Mid Cities Imaging
Number        Street                                     As of the date you file, the claim is: Check all that apply.
201 N. I-35 East                                             Contingent
                                                             Unliquidated
                                                             Disputed
DeSoto                        TX      75115
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Non-Purchase Money
Is the claim subject to offset?
     No
     Yes
Arterberry Settlement

  4.21                                                                                                                                 $50,000.00
Dana Dolan                                               Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
P.O. Box 3657
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Abilene                       TX      79604
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Non-Purchase Money
Is the claim subject to offset?
     No
     Yes




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Debtor 1       Burt Lee Burnett                                                            Case number (if known)       17-42678-11

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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                                                                                                                                      Total claim
previous page.

  4.22                                                                                                                                     $651.12
DFW Prescriptions                                        Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
2701 Osler Drive, Suite 1
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Grand Prairie                 TX      75051
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Non-Purchase Money
Is the claim subject to offset?
     No
     Yes
Bailey Settlement

  4.23                                                                                                                                   $4,560.78
Diana Castaneda                                          Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
817 S. Jefferson
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Aspermont                     TX      79502
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Non-Purchase Money
Is the claim subject to offset?
     No
     Yes




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  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                      Total claim
previous page.

  4.24                                                                                                                                 $15,000.00
Discover                                                 Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 790213
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
St. Louis                     MO      63179
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Non-Purchase Money
Is the claim subject to offset?
     No
     Yes

  4.25                                                                                                                                   $1,515.60
Equian                                                   Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/o Taylor Emergency Physicians
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 32710                                                 Contingent
                                                             Unliquidated
                                                             Disputed
Louisville                    KY      10232-2710
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Non-Purchase Money
Is the claim subject to offset?
     No
     Yes
Fernandez Settlement




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  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                      Total claim
previous page.

  4.26                                                                                                                                 $50,000.00
Eric Tolliver                                            Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
16021 Ridge Court
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Midlothian                    TX      76065
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Non-Purchase Money
Is the claim subject to offset?
     No
     Yes

  4.27                                                                                                                                   Unknown
Gary Peak                                                Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
101 Main Street
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Eastland                      TX      76448
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Non-Purchase Money
Is the claim subject to offset?
     No
     Yes

  4.28                                                                                                                                   $4,562.52
Gertha Arterberry                                        Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
948 Meadowlark Lane
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Desoto                        TX      75115
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Non-Purchase Money
Is the claim subject to offset?
     No
     Yes


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Debtor 1       Burt Lee Burnett                                                            Case number (if known)       17-42678-11

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                      Total claim
previous page.

  4.29                                                                                                                                   Unknown
Ghanayem & Rayasm LLC                                    Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
1936 N. Druld Hills Rd NE
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Atlanta                       GA      30319
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Non-Purchase Money
Is the claim subject to offset?
     No
     Yes

  4.30                                                                                                                                   $2,350.92
Health Care Service Corporation                          Last 4 digits of account number       1    2    5    4
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 731428
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Dallas                        TX      75373-1428
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Non-Purchase Money
Is the claim subject to offset?
     No
     Yes
BlueCross BlueShield of Texas




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Debtor 1       Burt Lee Burnett                                                            Case number (if known)       17-42678-11

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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                                                                                                                                      Total claim
previous page.

  4.31                                                                                                                                   $3,375.03
Hendrick Medical Center                                  Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
1900 Pine Street
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Abilene                       TX      79606
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Non-Purchase Money
Is the claim subject to offset?
     No
     Yes
Perez Settlement

  4.32                                                                                                                                 $25,000.00
Hendrick Medical Center                                  Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
1900 Pine Street
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Abilene                       TX      79606
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical
Is the claim subject to offset?
     No
     Yes




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Debtor 1       Burt Lee Burnett                                                            Case number (if known)       17-42678-11

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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                                                                                                                                      Total claim
previous page.

  4.33                                                                                                                                   $1,485.41
Horace Mann MedPay                                       Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Horace Mann Companies
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 19463                                                 Contingent
                                                             Unliquidated
                                                             Disputed
Springfield                   IL      62794
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Non-Purchase Money
Is the claim subject to offset?
     No
     Yes
Agapito Settlement

  4.34                                                                                                                                   $3,335.00
Horace Mann MedPay                                       Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
The Horace Mann Companies
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 19463                                                 Contingent
                                                             Unliquidated
                                                             Disputed
Springfield                   IL      62794
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Non-Purchase Money
Is the claim subject to offset?
     No
     Yes
Diana Castaneda Settement




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Debtor 1       Burt Lee Burnett                                                            Case number (if known)       17-42678-11

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                      Total claim
previous page.

  4.35                                                                                                                                   $3,335.00
Horace Mann MedPay                                       Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Horace Mann Companies
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 19463                                                 Contingent
                                                             Unliquidated
                                                             Disputed
Springfield                   IL      62794
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Non-Purchase Money
Is the claim subject to offset?
     No
     Yes
Husley Settlement

  4.36                                                                                                                                   $1,356.00
Horace Mann MedPay                                       Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Horace Mann Companies
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 19463                                                 Contingent
                                                             Unliquidated
                                                             Disputed
Springfield                   IL      62794
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Non-Purchase Money
Is the claim subject to offset?
     No
     Yes
Margaret Castaneda Settlement




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Debtor 1       Burt Lee Burnett                                                            Case number (if known)       17-42678-11

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                      Total claim
previous page.

  4.37                                                                                                                                 $27,500.00
Jerry Tarr                                               Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
P.O. Box 532
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Newcastle                     TX      76372
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Non-Purchase Money
Is the claim subject to offset?
     No
     Yes

  4.38                                                                                                                                   Unknown
Jody Montoya                                             Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
4706 Midkiff Rd, Ste 22
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Midland                       TX      79705
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Non-Purchase Money
Is the claim subject to offset?
     No
     Yes

  4.39                                                                                                                                   Unknown
Joseph and Charles Taylor                                Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/o Kelly Gill
Number        Street                                     As of the date you file, the claim is: Check all that apply.
McMahon Surovik Suttle, P.C.                                 Contingent
PO Box 3679                                                  Unliquidated
                                                             Disputed
Abilene                       TX      79604-3679
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Non-Purchase Money
Is the claim subject to offset?
     No
     Yes


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  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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                                                                                                                                      Total claim
previous page.

  4.40                                                                                                                                   $1,742.35
Kimberly Bailey                                          Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
3499 Santa Monica Drive
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Abilene                       TX      79605
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Non-Purchase Money
Is the claim subject to offset?
     No
     Yes

  4.41                                                                                                                                   $2,264.00
Knox County Hospital                                     Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 608
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Knox City                     TX      79529
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Non-Purchase Money
Is the claim subject to offset?
     No
     Yes
Agapito Settlement




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Debtor 1       Burt Lee Burnett                                                            Case number (if known)       17-42678-11

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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                                                                                                                                      Total claim
previous page.

  4.42                                                                                                                                   $2,352.00
Knox County Hospital                                     Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 608
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Knox City                     TX      79529
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Non-Purchase Money
Is the claim subject to offset?
     No
     Yes
Diana Castaneda Settlement

  4.43                                                                                                                                   $2,077.00
Knox County Hospital                                     Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 608
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Knox City                     TX      79529
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Non-Purchase Money
Is the claim subject to offset?
     No
     Yes
Husley Settlement




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Debtor 1       Burt Lee Burnett                                                            Case number (if known)       17-42678-11

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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                                                                                                                                      Total claim
previous page.

  4.44                                                                                                                                   $2,033.00
Knox County Hospital                                     Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 608
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Knox City                     TX      79529
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Non-Purchase Money
Is the claim subject to offset?
     No
     Yes
Margaret Castaneda Settlement

  4.45                                                                                                                                   $7,500.00
Lagina Howard, Executrix of the Estate                   Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
of Travis Hill, Deceased
Number        Street                                     As of the date you file, the claim is: Check all that apply.
1006 East 17th Street                                        Contingent
                                                             Unliquidated
                                                             Disputed
Sweetwater                    TX      79556
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Non-Purchase Money
Is the claim subject to offset?
     No
     Yes




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  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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                                                                                                                                      Total claim
previous page.

  4.46                                                                                                                                     $770.98
Lucynda Hulsey                                           Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 616
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Aspermont                     TX      79502
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Non-Purchase Money
Is the claim subject to offset?
     No
     Yes
Lucynda Hulsey Settlement

  4.47                                                                                                                                   $1,891.00
Margaret Castaneda                                       Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
332 West 6th Street
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Aspermont                     TX      79502
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Non-Purchase Money
Is the claim subject to offset?
     No
     Yes




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  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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                                                                                                                                      Total claim
previous page.

  4.48                                                                                                                                   $3,634.62
Mary Ann Perez                                           Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
502 North 19th
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Lamesa                        TX      79331
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Non-Purchase Money
Is the claim subject to offset?
     No
     Yes

  4.49                                                                                                                                   $3,790.00
Med Chex                                                 Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Health Imaging Partners, LLC
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 975542                                                Contingent
                                                             Unliquidated
                                                             Disputed
Dallas                        TX      75397
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Non-Purchase Money
Is the claim subject to offset?
     No
     Yes
Bailey Settlement




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  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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                                                                                                                                      Total claim
previous page.

  4.50                                                                                                                                   $2,248.00
Mesquite Injury Rehab                                    Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
3330 N. Galloway Ave., Suite 324
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Mesquite                      TX      75150
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Non-Purchase Money
Is the claim subject to offset?
     No
     Yes
Apoliner Settlement

  4.51                                                                                                                                      $75.00
Methodist Charelton Medical Center                       Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
3500 W. Wheatland Rd.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Dallas                        TX      75237
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Non-Purchase Money
Is the claim subject to offset?
     No
     Yes
Arterberry Settlement




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Debtor 1       Burt Lee Burnett                                                            Case number (if known)       17-42678-11

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                      Total claim
previous page.

  4.52                                                                                                                                   $4,390.00
Mid-Cities Imaging                                       Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
P.O. Box 835885
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Richardson                    TX      75083
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Non-Purchase Money
Is the claim subject to offset?
     No
     Yes
Arterberry Settlement

  4.53                                                                                                                                   Unknown
Musa Ghanayem                                            Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
1936 N. Druld Hills Rd NE
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Atlanta                       GA      30319
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Non-Purchase Money
Is the claim subject to offset?
     No
     Yes




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Debtor 1       Burt Lee Burnett                                                            Case number (if known)       17-42678-11

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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                                                                                                                                      Total claim
previous page.

  4.54                                                                                                                                   Unknown
Nancy Vaughn Edwards et al                               Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/o Brett Wagner
Number        Street                                     As of the date you file, the claim is: Check all that apply.
13810 Campion Forest Drive                                   Contingent
Suite 225                                                    Unliquidated
                                                             Disputed
Houston                       TX      77069
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Non-Purchase Money
Is the claim subject to offset?
     No
     Yes

  4.55                                                                                                                                   $2,557.36
Nayelli Apoliner                                         Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
8815 Barclay
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Dallas                        TX      75227
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Non-Purchase Money
Is the claim subject to offset?
     No
     Yes

  4.56                                                                                                                                 $22,000.00
Neiman Marcus                                            Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 85619
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Richmond                      VA      23285
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Non-Purchase Money
Is the claim subject to offset?
     No
     Yes


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Debtor 1       Burt Lee Burnett                                                            Case number (if known)       17-42678-11

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                      Total claim
previous page.

  4.57                                                                                                                                 $10,998.98
Nicolas Barton                                           Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
5841 Victory #105
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Abilene                       TX      79606
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Non-Purchase Money
Is the claim subject to offset?
     No
     Yes

  4.58                                                                                                                                   Unknown
Omar Thompson                                            Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
4281 Osborn Ct
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Duluth                        GA      30096
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Non-Purchase Money
Is the claim subject to offset?
     No
     Yes

  4.59                                                                                                                                   $4,000.00
PayPal Credit Service                                    Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 960080
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Orlando                       FL      32896-0080
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Non-Purchase Money
Is the claim subject to offset?
     No
     Yes


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Debtor 1       Burt Lee Burnett                                                            Case number (if known)       17-42678-11

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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                                                                                                                                      Total claim
previous page.

  4.60                                                                                                                                   $1,288.13
Pedro Arroyo-Julia                                       Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
2341 Portland Avenue
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Abilene                       TX      79605
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Non-Purchase Money
Is the claim subject to offset?
     No
     Yes

  4.61                                                                                                                                     $414.00
Perferred Imaging of McKinney                            Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
1717 W. University Drive
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
McKinney                      TX      75069
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Non-Purchase Money
Is the claim subject to offset?
     No
     Yes
Sveda Settlement




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Debtor 1       Burt Lee Burnett                                                            Case number (if known)       17-42678-11

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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                                                                                                                                      Total claim
previous page.

  4.62                                                                                                                                   Unknown
Ravi Rayasam                                             Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
1936 N. Druld Hills Rd NE
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Atlanta                       GA      30319
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Non-Purchase Money
Is the claim subject to offset?
     No
     Yes

  4.63                                                                                                                                     $794.01
Rebecca Sveda                                            Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
12 Misty Mesa Court
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Mansfield                     TX      76063
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Non-Purchase Money
Is the claim subject to offset?
     No
     Yes




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Debtor 1       Burt Lee Burnett                                                            Case number (if known)       17-42678-11

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                      Total claim
previous page.

  4.64                                                                                                                                     $716.10
Red Rock Diagnostic, LLC                                 Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
aka Envision Imaging
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 26119                                                 Contingent
                                                             Unliquidated
                                                             Disputed
Las Vegas                     NV      89126
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Non-Purchase Money
Is the claim subject to offset?
     No
     Yes
Arroyo Settlement

  4.65                                                                                                                                   $5,036.00
Red Rock Diagnostic, LLC                                 Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
aka Envision Imaging
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 26119                                                 Contingent
                                                             Unliquidated
                                                             Disputed
Las Vegas                     NV      89126
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Non-Purchase Money
Is the claim subject to offset?
     No
     Yes
Perez Settlement




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  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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                                                                                                                                      Total claim
previous page.

  4.66                                                                                                                                     $450.00
Regenerative Ortho Spine                                 Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
832 W. Spring Creek Parkway
Number        Street                                     As of the date you file, the claim is: Check all that apply.
Suite 300A                                                   Contingent
                                                             Unliquidated
                                                             Disputed
Plano                         TX      75023
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Non-Purchase Money
Is the claim subject to offset?
     No
     Yes
Apoliner Settlement

  4.67                                                                                                                                   $3,379.53
RELX Inc. DBA LexisNexis                                 Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
P.O. Box 733106
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Dallas                        TX      75373
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Non-Purchase Money
Is the claim subject to offset?
     No
     Yes




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  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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                                                                                                                                      Total claim
previous page.

  4.68                                                                                                                                 $10,797.76
Rolling Plains Memorial Hospital and                     Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Rolling Plains Home Health
Number        Street                                     As of the date you file, the claim is: Check all that apply.
200 E. Arizona Ave.                                          Contingent
                                                             Unliquidated
                                                             Disputed
Sweetwater                    TX      79556
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Non-Purchase Money
Is the claim subject to offset?
     No
     Yes
McCann Settlement

  4.69                                                                                                                                 $30,000.00
Stephen and Deborah Morgan                               Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
2809 Los Alamos Trail
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Fort Worth                    TX      76131
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Non-Purchase Money
Is the claim subject to offset?
     No
     Yes




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Debtor 1       Burt Lee Burnett                                                            Case number (if known)       17-42678-11

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                                                                                                                                      Total claim
previous page.

  4.70                                                                                                                                     $346.20
Stonewall Memorial Hospital                              Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
821 N. Broadway
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Aspermont                     TX      79502
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Non-Purchase Money
Is the claim subject to offset?
     No
     Yes
Diana Castaneda Settement

  4.71                                                                                                                                   $4,077.50
Stonewall Memorial Hospital                              Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
821 N. Broadway
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Aspermont                     TX      79502
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Non-Purchase Money
Is the claim subject to offset?
     No
     Yes
Husley Settlement




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                                                                                                                                      Total claim
previous page.

  4.72                                                                                                                                     $624.23
Stream SPE GP Comm LLC ( Stream Energy) Last 4 digits of account number                        8    3    2    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/o Hillcrest Davidson
Number        Street                                     As of the date you file, the claim is: Check all that apply.
715 N. Glenville, Ste. 450                                   Contingent
                                                             Unliquidated
                                                             Disputed
Richardson                    TX      75081
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Utility
Is the claim subject to offset?
     No
     Yes

  4.73                                                                                                                                   $1,818.29
Suddenlink                                               Last 4 digits of account number       6    2    0    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?
1820 SSW Loop 323
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Tyler                         TX      75701
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Non-Purchase Money
Is the claim subject to offset?
     No
     Yes

  4.74                                                                                                                                 $10,000.00
Tamika Brown a/n/f of Desiree Brown                      Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/o Jeff Allen
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 92002                                                 Contingent
                                                             Unliquidated
                                                             Disputed
Southlake                     TX      76902
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Non-Purchase Money
Is the claim subject to offset?
     No
     Yes


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  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                      Total claim
previous page.

  4.75                                                                                                                                   $1,844.54
Tamika Brown a/n/f of Desiree Brown                      Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/o Jeff Allen
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 92002                                                 Contingent
                                                             Unliquidated
                                                             Disputed
Southlake                     TX      76902
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Non-Purchase Money
Is the claim subject to offset?
     No
     Yes

  4.76                                                                                                                                 $11,975.26
Tammy (Eluteria) Fernandez                               Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
902 Sunset Drive
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Abilene                       TX      79605
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Non-Purchase Money
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                          page 36
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Debtor 1       Burt Lee Burnett                                                            Case number (if known)       17-42678-11

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                      Total claim
previous page.

  4.77                                                                                                                                   $1,035.00
Taylor Emergency Medicine                                Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 32710
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Louisville                    KY      40232-2710
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Non-Purchase Money
Is the claim subject to offset?
     No
     Yes
Arroyo Settlement

  4.78                                                                                                                                   $1,754.21
Terry Daley, D.C.                                        Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
7614 S. 14th
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Abilene                       TX      79605
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Non-Purchase Money
Is the claim subject to offset?
     No
     Yes
Arroyo Settlement




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                          page 37
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Debtor 1       Burt Lee Burnett                                                            Case number (if known)       17-42678-11

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                      Total claim
previous page.

  4.79                                                                                                                                   $5,575.00
Terry Daley, D.C.                                        Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
1606 Wynn Joyce
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Garland                       TX      75043
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Non-Purchase Money
Is the claim subject to offset?
     No
     Yes
Fernandez Settlement

  4.80                                                                                                                                   $7,446.00
Texas Healthcare - Lakewood                              Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
6301 Gaston Ave., Ste. 200W
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Dallas                        TX      75211
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Non-Purchase Money
Is the claim subject to offset?
     No
     Yes
Arterberry Settlement




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                          page 38
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Debtor 1       Burt Lee Burnett                                                            Case number (if known)       17-42678-11

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                      Total claim
previous page.

  4.81                                                                                                                                   $3,532.00
Texas Healthcare - Lakewood                              Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
6301 Gaston Ave., Ste. 200W
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Dallas                        TX      75211
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Non-Purchase Money
Is the claim subject to offset?
     No
     Yes
Brown Settlement

  4.82                                                                                                                                 $30,000.00
The estate of Joshua Whitten, Deceased                   Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
P.O. Box 5603
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Longview                      TX      75608
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Non-Purchase Money
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                          page 39
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Debtor 1       Burt Lee Burnett                                                            Case number (if known)       17-42678-11

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                      Total claim
previous page.

  4.83                                                                                                                                 $13,068.01
Thomson Reuters -West                                    Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
P.O. Box 64833
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
St. Paul                      MN      55164-0833
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Non-Purchase Money
Is the claim subject to offset?
     No
     Yes

  4.84                                                                                                                                   $2,385.91
Trover Solutions/ Equian                                 Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
9390 Bunsen Pkwy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Louisville                    KY      40220
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Non-Purchase Money
Is the claim subject to offset?
     No
     Yes
Sveda Settlement




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                          page 40
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Debtor 1       Burt Lee Burnett                                                            Case number (if known)       17-42678-11

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                      Total claim
previous page.

  4.85                                                                                                                                 $15,125.00
Veronica Harvey                                          Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
1127 Silverwood Drive Apt 188
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Arlington                     TX      76006
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Non-Purchase Money
Is the claim subject to offset?
     No
     Yes

  4.86                                                                                                                                   $2,957.00
White Rock MRI                                           Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
718 N. Buckner Suite 104
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Dallas                        TX      75218
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Non-Purchase Money
Is the claim subject to offset?
     No
     Yes
Apoliner Settlement




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                          page 41
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Debtor 1       Burt Lee Burnett                                                           Case number (if known)     17-42678-11

  Part 3:        List Others to Be Notified About a Debt That You Already Listed

5.     Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2.
       For example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original
       creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you have more than one creditor for any of the
       debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional parties to be notified for
       any debts in Parts 1 or 2, do not fill out or submit this page.


Benedict James, Attorney                                    On which entry in Part 1 or Part 2 did you list the original creditor?
Name
11130 Jollyville Rd, Suite 100                              Line   4.62 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number
Austin                          TX      78759
City                            State   ZIP Code


Benedict James, Attorney                                    On which entry in Part 1 or Part 2 did you list the original creditor?
Name
11130 Jollyville Rd, Suite 100                              Line   4.58 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number
Austin                          TX      78759
City                            State   ZIP Code


Benedict James, Attorney                                    On which entry in Part 1 or Part 2 did you list the original creditor?
Name
11130 Jollyville Rd, Suite 100                              Line   4.53 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number
Austin                          TX      78759
City                            State   ZIP Code


Benedict James, Attorney                                    On which entry in Part 1 or Part 2 did you list the original creditor?
Name
11130 Jollyville Rd, Suite 100                              Line   4.38 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number
Austin                          TX      78759
City                            State   ZIP Code


Benedict James, Attorney                                    On which entry in Part 1 or Part 2 did you list the original creditor?
Name
11130 Jollyville Rd, Suite 100                              Line   4.29 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number
Austin                          TX      78759
City                            State   ZIP Code




Official Form 106E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                             page 42
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Debtor 1     Burt Lee Burnett                                                     Case number (if known)    17-42678-11

  Part 3:      List Others to Be Notified About a Debt That You Already Listed -- Continuation Page

Jon Hanna                                          On which entry in Part 1 or Part 2 did you list the original creditor?
Name
302 Chestnut                                       Line   4.54 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims

                                                   Last 4 digits of account number
Abilene                   TX      79602
City                      State   ZIP Code


Julian Nacol                                       On which entry in Part 1 or Part 2 did you list the original creditor?
Name
990 S Sherman St                                   Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims

                                                   Last 4 digits of account number
Richardson                TX      75081
City                      State   ZIP Code


Mark Nacol                                         On which entry in Part 1 or Part 2 did you list the original creditor?
Name
990 S Sherman St                                   Line   4.8 of (Check one):          Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims

                                                   Last 4 digits of account number
Richardson                TX      75081
City                      State   ZIP Code


Zollie Steakly                                     On which entry in Part 1 or Part 2 did you list the original creditor?
Name
101 S. 3rd                                         Line   4.47 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims

                                                   Last 4 digits of account number
Sweatwater                TX      79556
City                      State   ZIP Code

Counsel for:
Castaneda, Diane
Castaneda, Margaret
Castaneda, Elsie
Castaneda, Agipto
Hulsey, Lucy




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Debtor 1     Burt Lee Burnett                                                    Case number (if known)    17-42678-11

  Part 3:      List Others to Be Notified About a Debt That You Already Listed -- Continuation Page

Zollie Steakly                                     On which entry in Part 1 or Part 2 did you list the original creditor?
Name
101 S. 3rd                                         Line   4.46 of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims

                                                   Last 4 digits of account number
Sweatwater                TX      79556
City                      State   ZIP Code
Counsel for:
Castaneda, Diane
Castaneda, Margaret
Castaneda, Elsie
Castaneda, Agipto
Hulsey, Lucy


Zollie Steakly                                     On which entry in Part 1 or Part 2 did you list the original creditor?
Name
101 S. 3rd                                         Line   4.23 of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims

                                                   Last 4 digits of account number
Sweatwater                TX      79556
City                      State   ZIP Code
Counsel for:
Castaneda, Diane
Castaneda, Margaret
Castaneda, Elsie
Castaneda, Agipto
Hulsey, Lucy


Zollie Steakly                                     On which entry in Part 1 or Part 2 did you list the original creditor?
Name
101 S. 3rd                                         Line   4.3 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims

                                                   Last 4 digits of account number
Sweatwater                TX      79556
City                      State   ZIP Code

Counsel for:
Castaneda, Diane
Castaneda, Margaret
Castaneda, Elsie
Castaneda, Agipto
Hulsey, Lucy




Official Form 106E/F                    Schedule E/F: Creditors Who Have Unsecured Claims                                         page 44
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Debtor 1       Burt Lee Burnett                                                         Case number (if known)        17-42678-11

 Part 4:        Add the Amounts for Each Type of Unsecured Claim

6.   Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only.
     28 U.S.C. § 159. Add the amounts for each type of unsecured claim.


                                                                                                                Total claim

Total claims       6a. Domestic support obligations                                                   6a.                     $0.00
from Part 1
                   6b. Taxes and certain other debts you owe the government                           6b.             $57,628.46

                   6c. Claims for death or personal injury while you were intoxicated                 6c.                     $0.00

                   6d. Other. Add all other priority unsecured claims. Write that amount here.        6d.   +                 $0.00


                   6e. Total.     Add lines 6a through 6d.                                            6d.             $57,628.46




                                                                                                                Total claim

Total claims       6f.   Student loans                                                                6f.                     $0.00
from Part 2
                   6g. Obligations arising out of a separation agreement or divorce                   6g.                     $0.00
                       that you did not report as priority claims

                   6h. Debts to pension or profit-sharing plans, and other similar                    6h.                     $0.00
                       debts

                   6i.   Other. Add all other nonpriority unsecured claims. Write that amount here.   6i.   +        $618,098.82


                   6j.   Total.   Add lines 6f through 6i.                                            6j.            $618,098.82




Official Form 106E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                        page 45
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 Fill in this information to identify your case:
 Debtor 1            Burt                 Lee                    Burnett
                     First Name           Middle Name            Last Name

 Debtor 2
 (Spouse, if filing) First Name           Middle Name            Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number         17-42678-11                                                                                    Check if this is an
 (if known)
                                                                                                                    amended filing

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                             12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page.
On the top of any additional pages, write your name and case number (if known).


1.   Do you have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
          Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2.   List separately each person or company with whom you have the contract or lease. Then state what each contract or lease
     is for (for example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of
     executory contracts and unexpired leases.

        Person or company with whom you have the contract or lease                   State what the contract or lease is for




Official Form 106G                          Schedule G: Executory Contracts and Unexpired Leases                                                 page 1
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 Fill in this information to identify your case:
 Debtor 1              Burt                   Lee                         Burnett
                       First Name             Middle Name                 Last Name

 Debtor 2
 (Spouse, if filing) First Name               Middle Name                 Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number           17-42678-11                                                                                          Check if this is an
 (if known)
                                                                                                                            amended filing



Official Form 106H
Schedule H: Your Codebtors                                                                                                                         12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If
two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this
page. On the top of any Additional Pages, write your name and case number (if known). Answer every question.


1.    Do you have any codebtors?          (If you are filing a joint case, do not list either spouse as a codebtor.)
          No
          Yes

2.    Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories
      include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
               No
               Yes
                In which community state or territory did you live?                   Texas     Fill in the name and current address of that person.

                Rebeca Burnett
                Name of your spouse, former spouse, or legal equivalent
                24 Winged Foot Circle W
                Number          Street


                Abilene                                         TX              79606-5026
                City                                            State           ZIP Code

3.    In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the
      person shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the
      creditor on Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use
      Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

         Column 1: Your codebtor                                                                 Column 2: The creditor to whom you owe the debt

                                                                                                 Check all schedules that apply:

3.1      Burnett, Rebeca
         Name                                                                                          Schedule D, line        2.1
         24 Winged Foot Circle W                                                                       Schedule E/F, line
         Number        Street
                                                                                                       Schedule G, line

         Abilene                                        TX                79606-5026             Dallas Cowboys Stadium
         City                                           State             ZIP Code




Official Form 106H                                               Schedule H: Your Codebtors                                                            page 1
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Debtor 1       Burt Lee Burnett                                           Case number (if known)       17-42678-11

                Additional Page to List More Codebtors

        Column 1: Your codebtor                                               Column 2: The creditor to whom you owe the debt

                                                                              Check all schedules that apply:

3.2     Burnett, Rebeca
        Name                                                                      Schedule D, line      2.2
        24 Winged Foot Circle W                                                   Schedule E/F, line
        Number       Street
                                                                                  Schedule G, line

        Abilene                          TX          79606-5026               Ditech Customer Service
        City                             State       ZIP Code


3.3     Burnett, Rebeca
        Name                                                                      Schedule D, line
        24 Winged Foot Circle W                                                   Schedule E/F, line     4.26
        Number       Street
                                                                                  Schedule G, line

        Abilene                          TX          79606-5026               Eric Tolliver
        City                             State       ZIP Code


3.4     Burnett, Rebeca
        Name                                                                      Schedule D, line
        24 Winged Foot Circle W                                                   Schedule E/F, line
        Number       Street
                                                                                                         4.45
                                                                                  Schedule G, line

        Abilene                          TX          79606-5026               Lagina Howard, Executrix of the Estate
        City                             State       ZIP Code




Official Form 106H                               Schedule H: Your Codebtors                                              page 2
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 Fill in this information to identify your case:
     Debtor 1              Burt                 Lee                    Burnett
                           First Name           Middle Name            Last Name                           Check if this is:
     Debtor 2                                                                                                   An amended filing
     (Spouse, if filing)   First Name           Middle Name            Last Name
                                                                                                                A supplement showing postpetition
     United States Bankruptcy Court for the:   NORTHERN DISTRICT OF TEXAS
                                                                                                                chapter 13 income as of the following date:
     Case number           17-42678-11
     (if known)
                                                                                                                MM / DD / YYYY
Official Form 106I
Schedule I: Your Income                                                                                                                              12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally
responsible for supplying correct information. If you are married and not filing jointly, and your spouse is living with you,
include information about your spouse. If you are separated and your spouse is not filing with you, do not include information
about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.

 Part 1:          Describe Employment
1.    Fill in your employment
      information.                                             Debtor 1                                           Debtor 2 or non-filing spouse
      If you have more than one
      job, attach a separate page       Employment status             Employed                                           Employed
      with information about                                          Not employed                                       Not employed
      additional employers.
                                        Occupation             Unemployed
      Include part-time, seasonal,
      or self-employed work.            Employer's name

      Occupation may include            Employer's address
      student or homemaker, if it                              Number Street                                      Number Street
      applies.




                                                               City                         State   Zip Code      City                   State   Zip Code

                                        How long employed there?

 Part 2:          Give Details About Monthly Income
Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your
non-filing spouse unless you are separated.
If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If
you need more space, attach a separate sheet to this form.

                                                                                            For Debtor 1            For Debtor 2 or
                                                                                                                    non-filing spouse

2.    List monthly gross wages, salary, and commissions (before all             2.                     $0.00                   $0.00
      payroll deductions). If not paid monthly, calculate what the monthly wage
      would be.
3.    Estimate and list monthly overtime pay.                                      3.   +              $0.00                   $0.00

4.    Calculate gross income. Add line 2 + line 3.                                 4.                  $0.00                   $0.00




Official Form 106I                                            Schedule I: Your Income                                                                page 1
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Debtor 1        Burt Lee Burnett                                                                                                      Case number (if known)    17-42678-11
                                                                                                                        For Debtor 1              For Debtor 2 or
                                                                                                                                                  non-filing spouse
     Copy line 4 here ...................................................................................................................
                                                                                                                 4.                       $0.00            $0.00
5.   List all payroll deductions:
     5a. Tax, Medicare, and Social Security deductions                                                          5a.                  $0.00                 $0.00
     5b. Mandatory contributions for retirement plans                                                           5b.                  $0.00                 $0.00
     5c. Voluntary contributions for retirement plans                                                           5c.                  $0.00                 $0.00
     5d. Required repayments of retirement fund loans                                                           5d.                  $0.00                 $0.00
     5e. Insurance                                                                                              5e.                  $0.00                 $0.00
     5f. Domestic support obligations                                                                           5f.                  $0.00                 $0.00
     5g. Union dues                                                                                             5g.                  $0.00                 $0.00
     5h. Other deductions.
          Specify:                                                                                              5h. +                $0.00                 $0.00
6.   Add the payroll deductions.                   Add lines 5a + 5b + 5c + 5d + 5e + 5f +                      6.                   $0.00                 $0.00
     5g + 5h.
7.   Calculate total monthly take-home pay.                           Subtract line 6 from line 4.              7.                   $0.00                 $0.00
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a                                                   8a.                  $0.00                 $0.00
          business, profession, or farm
            Attach a statement for each property and business showing
            gross receipts, ordinary and necessary business expenses, and
            the total monthly net income.
     8b. Interest and dividends                                                                                 8b.                  $0.00                 $0.00
     8c. Family support payments that you, a non-filing spouse, or a                                            8c.                  $0.00                 $0.00
         dependent regularly receive
            Include alimony, spousal support, child support, maintenance,
            divorce settlement, and property settlement.
     8d. Unemployment compensation                                                                              8d.                  $0.00                 $0.00
     8e. Social Security                                                                                        8e.                  $0.00                 $0.00
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) or any non-
         cash assistance that you receive, such as food stamps
         (benefits under the Supplemental Nutrition Assistance Program)
         or housing subsidies.
         Specify:                                                                                               8f.                  $0.00                 $0.00
     8g. Pension or retirement income                                                                           8g.                  $0.00                 $0.00
     8h. Other monthly income.
         Specify: Annuity Payment                                                                               8h. +       $10,563.35                     $0.00

9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f + 8g + 8h.                                     9.          $10,563.35                     $0.00

10. Calculate monthly income. Add line 7 + line 9.                             10.    $10,563.35 +             $0.00 =                                                      $10,563.35
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.

     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

     Specify:                                                                                                                                                  11.    +           $0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly                                                  12.          $10,563.35
    income. Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information,
    if it applies.                                                                                                                                                        Combined
                                                                                                                                                                          monthly income
13. Do you expect an increase or decrease within the year after you file this form?
        No.           None.
            Yes. Explain:




Official Form 106I                                                                  Schedule I: Your Income                                                                        page 2
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 Fill in this information to identify your case:
                                                                                                         Check if this is:
     Debtor 1              Burt                   Lee                    Burnett                             An amended filing
                           First Name             Middle Name            Last Name                           A supplement showing postpetition
                                                                                                             chapter 13 expenses as of the
     Debtor 2
     (Spouse, if filing)   First Name             Middle Name            Last Name                           following date:

     United States Bankruptcy Court for the:    NORTHERN DISTRICT OF TEXAS                                     MM / DD / YYYY
     Case number           17-42678-11
     (if known)

Official Form 106J
Schedule J: Your Expenses                                                                                                                        12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your
name and case number (if known). Answer every question.


 Part 1:          Describe Your Household
1.    Is this a joint case?

            No. Go to line 2.
            Yes. Does Debtor 2 live in a separate household?
                     No
                     Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?                  No
                                               Yes. Fill out this information          Dependent's relationship to    Dependent's      Does dependent
      Do not list Debtor 1 and                                                         Debtor 1 or Debtor 2           age              live with you?
                                               for each dependent...................................
      Debtor 2.                                                                                                                            No
                                                                                  Son                                 14
                                                                                                                                           Yes
      Do not state the dependents'
                                                                                                                                           No
      names.                                                                      Son                                 12
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
3.    Do your expenses include                        No
      expenses of people other than                   Yes
      yourself and your dependents?


 Part 2:          Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case
to report expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of
the form and fill in the applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                      Your expenses

4.    The rental or home ownership expenses for your residence.                                                      4.                    $3,200.00
      Include first mortgage payments and any rent for the ground or lot.
      If not included in line 4:

      4a. Real estate taxes                                                                                          4a.

      4b. Property, homeowner's, or renter's insurance                                                               4b.

      4c. Home maintenance, repair, and upkeep expenses                                                              4c.                    $600.00
      4d. Homeowner's association or condominium dues                                                                4d.




 Official Form 106J                                             Schedule J: Your Expenses                                                        page 1
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Debtor 1      Burt Lee Burnett                                                              Case number (if known)     17-42678-11
                                                                                                                 Your expenses

5.   Additional mortgage payments for your residence, such as home equity loans                            5.

6.   Utilities:

     6a. Electricity, heat, natural gas                                                                    6a.                   $1,000.00
     6b. Water, sewer, garbage collection                                                                  6b.                    $300.00
     6c. Telephone, cell phone, Internet, satellite, and           (See continuation sheet(s) for details) 6c.                    $800.00
         cable services
     6d. Other. Specify:                                                                                   6d.

7.   Food and housekeeping supplies                                (See continuation sheet(s) for details) 7.                    $1,500.00
8.   Childcare and children's education costs                                                              8.

9.   Clothing, laundry, and dry cleaning                                                                   9.                     $150.00
10. Personal care products and services                                                                    10.                    $200.00
11. Medical and dental expenses                                                                            11.                    $100.00
12. Transportation. Include gas, maintenance, bus or train                                                 12.                    $300.00
    fare. Do not include car payments.
13. Entertainment, clubs, recreation, newspapers,                                                          13.                    $300.00
    magazines, and books
14. Charitable contributions and religious donations                                                       14.

15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

     15a.   Life insurance                                                                                 15a.

     15b.   Health insurance                                                                               15b.                  $1,175.00
     15c.   Vehicle insurance                                                                              15c.                   $933.00
     15d.   Other insurance. Specify:                                                                      15d.
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
    Specify:                                                                                               16.

17. Installment or lease payments:

     17a.   Car payments for Vehicle 1                                                                     17a.

     17b.   Car payments for Vehicle 2                                                                     17b.

     17c.   Other. Specify:                                                                                17c.

     17d.   Other. Specify:                                                                                17d.

18. Your payments of alimony, maintenance, and support that you did not report as                          18.
    deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).


19. Other payments you make to support others who do not live with you.
    Specify:                                                                                               19.




 Official Form 106J                                        Schedule J: Your Expenses                                                 page 2
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Debtor 1      Burt Lee Burnett                                                                 Case number (if known)   17-42678-11
20. Other real property expenses not included in lines 4 or 5 of this form or on
    Schedule I: Your Income.
    20a.    Mortgages on other property                                                                      20a.

    20b.    Real estate taxes                                                                                20b.

    20c.    Property, homeowner's, or renter's insurance                                                     20c.

    20d.    Maintenance, repair, and upkeep expenses                                                         20d.

    20e.    Homeowner's association or condominium dues                                                      20e.

21. Other. Specify:                                                                                          21.    +
22. Calculate your monthly expenses.

    22a.    Add lines 4 through 21.                                                                          22a.              $10,558.00
    22b.    Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2.                 22b.

    22c.    Add line 22a and 22b. The result is your monthly expenses.                                       22c.              $10,558.00

23. Calculate your monthly net income.

    23a.    Copy line 12 (your combined monthly income) from Schedule I.                                     23a.              $10,563.35
    23b.    Copy your monthly expenses from line 22c above.                                                  23b.   –          $10,558.00
    23c.    Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                           23c.                     $5.35

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage
    payment to increase or decrease because of a modification to the terms of your mortgage?

           No.
           Yes. Explain here:
                None.




 Official Form 106J                                         Schedule J: Your Expenses                                                 page 3
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Debtor 1     Burt Lee Burnett                                                         Case number (if known)   17-42678-11


6c. Telephone, cell phone, Internet, satellite, and cable services (details):
     Cell Phone                                                                                                          $400.00
     Cable/Internet                                                                                                      $400.00

                                                                                            Total:                       $800.00


7.   Food and housekeeping supplies (details):
     Household Supplies                                                                                                  $500.00
     Food                                                                                                              $1,000.00

                                                                                            Total:                     $1,500.00




 Official Form 106J                                       Schedule J: Your Expenses                                          page 4
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 Fill in this information to identify your case:
 Debtor 1                Burt                          Lee                           Burnett
                         First Name                    Middle Name                   Last Name

 Debtor 2
 (Spouse, if filing) First Name                        Middle Name                   Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number             17-42678-11                                                                                                                      Check if this is an
 (if known)
                                                                                                                                                          amended filing

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                    12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended
schedules after you file your original forms, you must fill out a new Summary and check the box at the top of this page.



 Part 1:          Summarize Your Assets

                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1.   Schedule A/B: Property (Official Form 106A/B)
                                                                                                                                                                         $3,403,760.00
     1a. Copy line 55, Total real estate, from Schedule A/B.....................................................................................................................


                                                                                                                                                                       $571,692.16
     1b. Copy line 62, Total personal property, from Schedule A/B......................................................................................................................................................


                                                                                                                                                                         $3,975,452.16
     1c. Copy line 63, Total of all property on Schedule A/B................................................................................................................................................................


 Part 2:          Summarize Your Liabilities

                                                                                                                                                                        Your liabilities
                                                                                                                                                                        Amount you owe

2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
                                                                                                                                      $1,814,346.40
     2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.........................

3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                        $57,628.46
     3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................................................................


                                                                                                                                    +               $618,098.82
     3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F........................................................



                                                                                                                                   Your total liabilities                      $2,490,073.68




 Part 3:          Summarize Your Income and Expenses

4.   Schedule I: Your Income (Official Form 106I)
                                                                                                                                                                       $10,563.35
     Copy your combined monthly income from line 12 of Schedule I....................................................................................................................................................

5.   Schedule J: Your Expenses (Official Form 106J)
     Copy your monthly expenses from line 22c of Schedule J.........................................................................................................                $10,558.00




Official Form 106Sum                        Summary of Your Assets and Liabilities and Certain Statistical Information                                                                        page 1
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Debtor 1      Burt Lee Burnett                                                             Case number (if known)     17-42678-11


 Part 4:        Answer These Questions for Administrative and Statistical Records

6.   Are you filing for bankruptcy under Chapters 7, 11, or 13?

           No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
           Yes

7.   What kind of debt do you have?

           Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
           family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.
           Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.

8.   From the Statement of Your Current Monthly Income: Copy your total current monthly income from
     Official Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.


9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                        Total claim

     From Part 4 on Schedule E/F, copy the following:

     9a. Domestic support obligations. (Copy line 6a.)

     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)

     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)

     9d. Student loans. (Copy line 6f.)

     9e. Obligations arising out of a separation agreement or divorce that you did not report as
         priority claims. (Copy line 6g.)

     9f.   Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)       +

     9g. Total.    Add lines 9a through 9f.




Official Form 106Sum               Summary of Your Assets and Liabilities and Certain Statistical Information                                page 2
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 Fill in this information to identify your case:
 Debtor 1           Burt                Lee                  Burnett
                    First Name          Middle Name          Last Name

 Debtor 2
 (Spouse, if filing) First Name         Middle Name          Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number        17-42678-11                                                                              Check if this is an
 (if known)
                                                                                                             amended filing

Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                     12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement,
concealing property, or obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to
$250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below

    Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

          No

          Yes. Name of person                                                                Attach Bankruptcy Petition Preparer's Notice,
                                                                                             Declaration, and Signature (Official Form 119).




    Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are
    true and correct.



    X /s/ Burt Lee Burnett                                 X
        Burt Lee Burnett, Debtor 1                             Signature of Debtor 2

        Date 07/28/2017                                        Date
             MM / DD / YYYY                                           MM / DD / YYYY




Official Form 106Dec                        Declaration About an Individual Debtor's Schedules                                         page 1
